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IN THE UNITED sTATEs DISTRICT COURT F § " 9 C
FoR THE wEsTERN DISTRICT 0F TEl\n\rEssE§5 JUL 25 PH w m

 

WESTERN DIVISION
SECURITY FIRE PROTECTION )
Plaintiff, g
v. § NO. 05-2353 B/An
ROBERT S. RUSSELL and §
SOUTHERN FIRE & SECURITY, INC., )
Defendants. §

 

ORDER GRANTING UNOPPOSED MOTION TO STAY PRELIM]NARY INJUNCTION
I'IEARING

 

Before the Court is Defendants Robert S. Russell and Southem Fire & Security, Inc.’s
(“Defendants”) Unopposed Motion To Stay Preliminary lnjunction Hearing. For good cause
shown the motion is GRANTED. The Preliminary Injunction Hearing set for August 18, 2005
is hereby cancelled. Should the Court deny Defendants’ Motion to Disrru`ss, Plaintiff may move
the Court to set a preliminary injunction hearing.

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IT IS SO ORDERED this 2, § day of , 2005.

  
  

JI?D E J. DANIEL BREEN
UNI ED STATES DISTRJCT JUDGE

Thfs document entered on the docket sheet in Compliance

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Honorable J. Breen
US DISTRICT COURT

